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                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF LOUISIANA

   IN RE:                                                CASE NUMBER 18-12696

   Gregory Reed Creason,                                 SECTION B

   DEBTOR                                                CHAPTER 13


                                   CERTIFICATE OF SERVICE

          I, Remy F. Symons, do hereby certify that a true and correct copy of the Order to

   Continue Hearing on Motion for Relief From Stay (P-67) has been served upon all necessary

   parties listed below, who did not receive notice through the ECF System pursuant to Federal

   Rules of Bankruptcy Procedure and the Local Bankruptcy Rules, by placing same in the United

   States Mail, postage prepaid, on this 23rd day of May, 2019:

          Gregory Reed Creason
          934 Port Street
          New Orleans, LA 70117


                                                Respectfully submitted,

                                                SHAPIRO & DAIGREPONT, L.L.C.


                                                BY:    /s/Remy F. Symons
                                                       Remy F. Symons
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